      Case 1:21-cv-06702-LAK Document 78 Filed 02/15/22 Page 1 of 1




                                       February 15, 2022


VIA ECF

Honorable Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, New York 10007-1312

       Re:    Giuffre v. Prince Andrew, Case No. 21-cv-06702-LAK
              Our File No. 7147-2

Dear Judge Kaplan:

       We write jointly with counsel for defendant to advise the Court that the
parties reached a settlement in principle of the above-referenced action. The parties
anticipate filing a stipulation of dismissal of the case within thirty (30) days. See
Exhibit A.

       In the interim, the parties request that the Court suspend all deadlines and
hold the action in abeyance.

       We appreciate the time and effort the Court has devoted to this matter.

                                           Respectfully,




                                           David Boies

Exhibit A

cc:    All counsel of record
